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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 JOHN GAVIRIA, on behalf of himself and all
 others similarly situated,                                Case No. 2:20-cv-18552(KM)(JBC)

                                PLAINTIFF,                 AMENDED CLASS ACTION
                                                           COMPLAINT
               - AGAINST -

 LINCOLN EDUCATIONAL SERVICES
 CORPORATION,                                              JURY TRIAL DEMANDED

                                    DEFENDANT.




       Plaintiff John Gaviria (“Plaintiff”), on behalf of himself and all others similarly situated,

by and through the undersigned counsel, brings this class action against Defendant Lincoln

Technical Institute Educational Services Corporation (“LESC,” or “Defendant”), and alleges as

follows based upon information and belief, except as to the allegations specifically pertaining to

him, which are based on personal knowledge.

                                  NATURE OF THE ACTION

       1.      This is a class action lawsuit on behalf of all persons who paid tuition and/or fees

to attend Lincoln Technical Institute or Lincoln College of Technology (collectively “Lincoln

Tech”) for in person hands-on educational services and experiences for the semesters or terms

affected by Coronavirus Disease 2019 (“COVID-19”) and had their course work moved to online

only learning and failed to receive all the services for which they paid.

       2.      Students, like Plaintiff, were required to pay tuition and Mandatory Fees to attend

Lincoln Tech. Tuition and Mandatory Fees prices vary based on campus location and program but


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were on average approximately $29,000.00 for tuition, books, and uniforms. Mandatory Fees

typically included approximately $1,200.00 for tools, a $100.00 registration fee, a $150.00

technology fee, and a $650.00 student fee.

        3.       Lincoln Tech has not refunded any amount of the tuition or any of the Mandatory

Fees, even though it canceled substantially all in-person classes on or about March 16, 2020, and

Lincoln Tech began the transition to online-only learning starting on March 17, 2020.

        4.      Because of LESC’s response to the COVID-19 pandemic, on or about March 16,

2020, LESC also stopped providing the educational services or facilities the tuition and Mandatory

Fees were intended to cover.

        5.      LESC’s failure to provide the full services for which tuition and the Mandatory

Fees were intended to cover since approximately March 16, 2020 constitutes a breach of the

contracts between LESC and Plaintiff and the members of the Class and is unjust.

        6.      In short, Plaintiff and the members of the Class have all paid for tuition for a

vocational education delivered on-campus, with in-person educational experiences and all the

benefits offered by an in-person, on-campus college, such as LESC. Instead, students like Plaintiff

were provided a materially different alternative which he did not agree to, and which constitutes a

breach of the contracts entered into by Plaintiff with LESC.

        7.      As to the Mandatory Fees, Plaintiff and the Class have paid fees for services and

facilities that were simply not fully provided.

        8.      This failure also constitutes a breach of the contracts entered into by Plaintiff with

Lincoln Tech. In the alternative, it is unjust.

        9.      Rather than offer partial refunds, credits, or discounts to students like Plaintiff and

 the Class and balance the financial difficulties associated with COVID-19, Defendant has instead



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 elected to place the financial burden entirely upon its students by charging them full tuition and

 full Mandatory Fees when the services Lincoln Tech provided were not the full educational

 opportunities, experiences, and services that Plaintiff and the Class bargained for, contracted for,

 and paid for.

        10.      Plaintiff does not challenge Defendant’s compliance with the COVID-19

 government orders that were in place in New Jersey or across the country or its process for

 awarding degrees. Rather, Plaintiff challenges Defendant’s decision to retain monies paid by

 students like Plaintiff and refuse to offer any refunds, provided any discounts, or apply any credit

 to Plaintiff and Class members’ accounts when Defendant failed to provide the in-person and on-

 campus services that were bargained for, promised, and agreed to.

        11.      Notwithstanding any argument that LESC had no choice but to transition to an

 online-only educational model with limited campus access due to government orders then in

 effect, there was no government or municipal order in place that required Defendants to retain the

 full amount of tuition and the full amount of fees from Plaintiff. And there is no argument that

 the retention of Plaintiff’s tuition and fees was done for the health and safety of students, faculty,

 staff, or the public at large.

        12.      Defendant elected to retain the full amount of tuition and the full amount of fees,

 despite being unable to provide the services that Plaintiff bargained for, contracted for, and paid

 for.

        13.      Plaintiff is challenging Defendant’s decision to retain the full amount of Plaintiff

 and the Class’s tuition and fees, as that decision was not undertaken pursuant to the exercise of

 statutory authority or any government order or regulation.




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          14.   Plaintiff seeks, for himself and the Class members, LESC’s disgorgement and

return of a pro-rated portion of their tuition and Mandatory Fees, proportionate to the amount of

time in the respective semesters or terms when LESC closed and switched to online-only learning.

The return of such amounts would compensate Plaintiff and the Class members for damages

sustained by way of Defendant’s breach.

          15.   Plaintiff seeks, for himself and the Class members protections including injunctive

and declaratory relief protecting Class Members from paying the full cost of tuition and Mandatory

Fees during the pendency of the pandemic in light of the educational services, opportunities, and

experiences Defendant can actually safely provide.

                                            PARTIES

          16.   Plaintiff John Gaviria was a student at Lincoln Tech beginning on February 3, 2020

and has an expected graduation date of February 2021. Lincoln Tech charged Plaintiff

approximately $19,664.00 in tuition and $496.00 in Mandatory Fees, specifically, a $400 Student

Fee, and a $96.00 Technology Fee. Additionally, Plaintiff Gaviria was charged a $150.00 for a

Registration Fee.

          17.   Plaintiff Gaviria is a resident of Orange, New Jersey.

          18.   Defendant LESC is a publicly-traded company that provides career-oriented post-

secondary education through for-profit postsecondary institutions under a number of different

brand names, including Lincoln Technical Institute. LESC is headquartered in West Orange, New

Jersey.

          19.   LESC owns and operates Lincoln Tech campuses throughout the United States

including New York, New Jersey, Connecticut, Maryland, Massachusetts, Pennsylvania, Rhode

Island, Colorado, Georgia, Illinois, Indiana, Texas, Tennessee, Kentucky, and Nevada.
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        20.     Defendant’s programs include students from many, if not all, of the states in the

country. Defendant is a citizen of New Jersey.

                                  JURISDICTION AND VENUE

        21.     This Court has jurisdiction under the Class Action Fairness Act, 28 U.S.C. §

1332(d)(2)(A), because the matter in controversy exceeds the sum or value of $5,000,000.00

exclusive of interests and costs, and is a class action in which one or more of the other Class

members are citizens of a State different from the Defendant.

        22.     This Court has personal jurisdiction over Defendant because Defendant was

incorporated in the State of New Jersey and has its principal place of business in New Jersey.

        23.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(1), because

Defendant is a citizen in this District and its located within this District.

        24.     Plaintiff attended Lincoln Tech in this District and in the State of New Jersey.

                                   FACTUAL ALLEGATIONS.

        25.     Plaintiff and Class Members paid tuition and Mandatory Fees to attend Lincoln

Tech. Lincoln Tech begins courses on a rolling basis throughout the year. For example, the campus

Plaintiff Gaviria attended in Mahwah, New Jersey had programs that started before and throughout

the Covid-19 pandemic, including throughout February, March, April, May, June, July, August

September, October, November, and December of 2020, with classes scheduled to continue until

as late as October 2021.

        26.     Students, like Plaintiff, were required to pay tuition to attend Lincoln Tech. Tuition

and Mandatory Fees prices vary based on campus location and program but were on average

approximately $29,000.00 for tuition, books, and uniforms. Mandatory Fees typically included

approximately $1,200.00 for tools, $100.00 for a registration fee, $150.00 for a technology fee,



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and $650.00 for a student fee.

       27.     Plaintiff and the members of the Class paid tuition for the benefit of on-campus live

interactive instruction and an on-campus educational experience throughout the semesters.

       28.     The on-campus and in-person services promised by LESC are material to the

contract because the of highly technical and mechanical areas of education promoted by LESC

and sought by the Plaintiff.

       29.     Defendant priced the cost of tuition based on the assumption of a full term of in-

person and on-campus learning.

       30.     Upon information and belief, Defendant priced the Mandatory Fees based on the

services that students like Plaintiff would receive via in-person instruction and services.

       31.     Throughout March 2020, LESC made public announcements adjusting educational

services and opportunities that affected Plaintiff and the Class.

       32.     All classes since March 16, 2020 until August 2020 were offered almost exclusively

in a remote online format with no in-person instruction or interaction. After August 2020, only a

small portion of classes had any in-person instruction and/or interaction.

       33.     The services for which the Mandatory Fees were assessed were also partially

terminated or cancelled at or about this time, such as access to Lincoln Tech’s equipment and

educational facilities, programs or services.

       34.     As a result of Defendant’s response to the Coronavirus, Plaintiff and the Class were

denied the complete access to such facilities, services, and technology despite paying the

Mandatory Fees.

       35.     Lincoln Tech has not provided reimbursement or refund information regarding

tuition or the Mandatory Fees.



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        36.    No government orders were in place that required Defendant to retain Plaintiff’s

tuition and fees.

        37.    No governmental orders were in place that required Defendant to retain Plaintiff’s

tuition and fees for public healthy or safety.

        38.    Students attending Lincoln Tech’s did not choose to attend an online only

institution of higher learning, but instead chose to enroll in Lincoln Tech’s in-person educational

programs with the understanding that Lincoln Tech would provide in-person educational

opportunities, services, and experiences. This learning environment is particularly important

considering the labor-intensive and highly technical programs offered by LESC through Lincoln

Tech.

        39.    Plaintiff did not apply to, enroll at, register for classes at, or make payments for

classes at Lincoln Tech for online only educational services.

        40.    The terms of the contract entered between Plaintiff and Defendant were formed

through the application process, the admission process, the registration process, the payment

process, and throughout enrollment, and these terms are contained in numerous documents,

including the acceptance letter, the application, the course catalog, the student handbook, and other

documents that are not presently available to the Named Plaintiff.

        41.    On its website and in its documents including marketing materials, admissions

materials, enrollment documents, or registration documents, Lincoln Tech touts LESC’s in-person

and hands-on experience and opportunities as a benefit to students, stating, for example “Lincoln's

mission is to provide superior education and training to our students for in-demand careers in a

supportive, accessible learning environment, transforming student's lives and adding value to their




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communities.” 1

       42.     Defendant marketed and emphasized the in-person experiences and highly

specialized technical training available to Lincoln Tech. students, including, for example, in the

below materials:




1
 MISSION STATEMENT & BRAND PROMISE, LINCOLN TECHNICAL INSTITUTE,
https://www.lincolntech.edu/about/our-promise (last visited Nov. 30, 2020).

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       43.     Further, the official school catalog, which Plaintiff and the class relied upon in

selecting courses at Lincoln Tech, describes Lincoln Tech’s educational philosophy, in relevant

part, as seeking to prepare their students to meet day-to-day challenges of an ever-changing world,

accomplished through lectures, followed by “[a] comprehensive hands-on laboratory exercise on




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a variety of trainers allows the student to practice newly learned skills.” 2 Lincoln’s “Educational

Philosophy” also provides that, “[h]ands-on practical exercises on Real-World equipment allows

the student to experience tasks performed in the workplace [. . . .] Classroom instruction will

always lead to ‘hands-on’ teaching and learning to apply the knowledge learned in the classroom.”

        44.     Further conveying the nature of this promise and the services offered by the

institute, Lincoln Tech states, “By training on computers and other appropriate equipment you can

gain the skills to qualify for the best employment opportunities. To prospective employers, such

instant productivity is invaluable and it’s just a part of what sets Lincoln Technical Institute

graduates apart from the others.”

        45.     Other documents conveyed the promises of in-person and on-campus educational

services. 3

        46.     Lincoln Tech was unwilling or unable to offer the educational or similar

experiences as detailed in the marketing materials and documents provided to Plaintiff and

similarly situated individuals because of COVID-19.

        47.     Lincoln Tech uses its website, promotional materials, circulars, admission papers,

and publications to tout the benefit of being on campus and the education students will receive in

its specialized technical facilities.

        48.     For example, on its website Lincoln Tech states:

                “Lincoln Tech’s Mahwah campus provides fully-equipped training facilities and
                real-world tools and equipment to help you prepare for a new hands-on career: 16
                fully-functioning auto bays with lifts and equipment for hands-on practice with

2
  LINCOLN TECHNICAL INSTITUTE-ALLENTOWN CAMPUS, Official School Catalog, Vol. XXVII, 4 (Jan.
2020), https://lincolntech.edu/sites/default/files/download/consumer/Allentown_GII_CSC.pdf ; LINCOLN
TECHNICAL INSTITUTE-MAHWAH CAMPUS, Official School Catalog, Vol. XXIV, 4 (Nov. 2018),
https://www.lincolntech.edu/sites/default/files/download/consumer/Mahwah_GII_CSC.pdf.
3
  Many of these records are not in the possession, custody, or control of Plaintiff at this stage of the
litigation and many, if not all, of them are in the possession and control of Defendant.


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                engines, fuel systems, diagnostics, transmissions and more, more than 20 vehicles
                on site, drive-in classrooms, outdoor “Green House” for hands-on energy efficiency
                testing, the Haas Technical Education Center (HTEC), sponsored by Haas
                Automation and featuring computerized manufacturing machines where students
                practice programming and operating the equipment that drives modern
                manufacturing facilities.” 4

        49.     As a result of COVID-19, the online-only learning options offered to Lincoln

Tech’s students were materially different in practically every aspect as compared to what the

educational experience promised to Plaintiff and the members of the Class. During the online

portion of the terms affected by Covid-19, Lincoln Tech used programs by which previously

recorded lectures were posted online for students to view on their own or by virtual meetings.

        50.     Therefore, there was a lack of hands-on and in-person instruction, training with

equipment, and interaction among instructors and students, and among students that was expected

as per typical in person learning settings.

        51.     LESC itself recognizes the distinction between online-only and in-person

education; in fact, in a December 2020 revision to the Lincoln Tech-Mahwah Campus catalog,

LESC added a new disclosure for Career Program description in its catalog distinguishing between

“Residential, Blended Learning, or Online” delivery of education. 5


4
 LINCOLN TECH MAHWAH NJ CAMPUS - AUTO & SKILLED TRADES,
https://www.lincolntech.edu/campus/mahwah-nj (last visited Nov. 30, 2020).
5
 See, e.g. LINCOLN TECH MAHWAH CAMPUS 2020-2022 OFFICIAL SCHOOL CATALOG at 7 (rev’d Dec.
2020), Volume XXV,
https://www.lincolntech.edu/sites/default/files/download/consumer/Mahwah_GII_CSC.pdf (last visited
Mar. 3, 2020) (Mode of delivery: Residential, Blended Learning or Online are the methods we may use to
deliver content in each course. The Residential courses are offered on ground at the campus. Blended
courses are offered by delivering a fraction of the course in an online format as well as traditional face to
face method. Online courses are delivered 100% online. The Blended delivery and Online delivery plan
will implement distance education activities into each course in the program of study. The use of
simulations, case studies, assessments and multimedia will be used to enhance the students understanding
of the learning objectives outlined in the course syllabus.”). Compare Id., with LINCOLN TECH. SOUTH
PLAINFIELD CAMPUS 2019-2021 COURSE CATALOG at 7 (rev’d Mar. 2019) available at
https://www.lincolntech.edu/sites/default/files/download/consumer/South-Plainfield_GII_CSC.pdf (last
visited Mar. 3, 2021) (no “Mode of Delivery” disclosure for career program descriptions in 2019 catalog

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        52.    Certain online formats being used by Lincoln Tech do not provide the bargained-

for development of strong mechanical, physical, and memorization skills given the absence of the

hands-on training and instruction.

        53.    Students, like Plaintiff, have been deprived of the opportunity for collaborative

learning and in-person dialogue, feedback, and critique.

        54.    Students like Plaintiff and the class were denied nearly all access to facilities, which

include specialized workshops, garages, libraries, laboratories, computer labs, equipment, and

specialized tools, which are integral to Lincoln Tech’s educational services and for which Plaintiff

paid a premium.

        55.    Students like Plaintiff and the Class were denied access to nearly all activities

offered by Defendant meant to foster intellectual and academic development and independence,

and networking for future careers.

        56.    Lincoln Tech priced the tuition and Mandatory Fees based on the in person

educational services, opportunities and experiences it was providing on campus.

        57.    Lincoln Tech has not made any refund of any portion of the tuition Plaintiff and the

members of the Class paid for during the semesters affected by Covid-19.

        58.    Lincoln Tech has not refunded any portion of the Mandatory Fees it collected from

Plaintiff and the members of the Class for the affected semester even though it closed or ceased

the full operation of services and facilities for which the Mandatory Fees covered.

        59.    Plaintiff and the Class members are therefore entitled to a pro-rated refund of the

tuition and Mandatory Fees they paid for the remaining days of that semester after classes moved

from in-person to online and facilities were closed, and for the future semesters where in-person



revision).

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classes are cancelled and moved online.

       60.     Defendant’s practice of failing to provide reimbursements for tuition and the

Mandatory Fees despite the materially different education and other experiences that it provided,

and the reduced benefits associated with the fees, as alleged herein, violates generally accepted

principles of business conduct.

                                  CLASS ACTION ALLEGATIONS

       61.     Plaintiff brings this case individually and, pursuant to FRCP 23, on behalf of the

class defined as:

               All persons who paid, or will pay, tuition and/or the Mandatory Fees for a
               student to attend in-person class(es), at any Lincoln Tech campus
               throughout the United States, during any semester or term affected by
               Covid-19 at Lincoln Tech but had their educational experiences and
               class(es) moved to online only learning (the “Class”).

       62.     Plaintiff reserves the right to modify or amend the definition of the proposed Class

if necessary before this Court determines whether certification is appropriate.

       63.     This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria of FRCP 23 and other statutes and case law.

       64.     The Class is so numerous that joinder of all members is impracticable. Although

the precise number of Class members is unknown to Plaintiff, LESC has reported approximately

10,000 or more students were enrolled for the 2019-2020 school year. The names and addresses

of all such students are known to LESC and can be identified through LESC’s records. Class

members may be notified of the pendency of this action by recognized, Court-approved notice

dissemination methods, which may include U.S. Mail, electronic mail, Internet postings, and/or

published notice.




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       65.     The questions here are ones of common or general interest such that there is a well-

defined community of interest among the class members. These questions predominate over

questions that may affect only individual members of the Class because Lincoln Tech has acted

on grounds generally applicable to the classes. Such common legal or factual questions include,

but are not limited to:

               a.         Whether Lincoln Tech accepted money from Plaintiff and the Class
                          members in exchange for the promise to provide an in-person and
                          on-campus live education, as well as certain facilities and services
                          throughout the semesters or terms affected by Covid-19;

               b.          Whether Defendant breached its contracts with Plaintiff and the
                          members of the Class by failing to provide them with the full in-
                          person and on-campus live education after March 16, 2020;

               c.         Whether Defendant breached its contracts with Plaintiff and the
                          Class by failing to provide the full services and facilities to which
                          the Mandatory Fees pertained after mid-March 2020;

               d.         Whether Defendant breached the covenant of good faith and fair
                          dealing with Plaintiff and the members of the Class by failing to
                          provide them with the full in-person and on-campus live education
                          after March 16, 2020;


               e.         Whether Defendant was unjustly enriched by retaining all of the
                          tuition and the Mandatory Fees during the time when Lincoln Tech
                          has been closed, and Plaintiff and the members of the Class have
                          been denied the full in-person and on-campus live education and
                          access and the services and facilities for which the Mandatory Fees
                          was paid;

               f.         Whether Defendant intentionally interfered with the rights of the
                          Plaintiff and the Class when it cancelled all in-person classes and
                          provided a mostly remote online format, cancelled all on-campus
                          events, strongly encouraged students to stay away from campus, and
                          discontinued the full services for which the Mandatory Fees was
                          intended to pay, all while retaining the tuition and the Mandatory
                          Fees paid by Plaintiff and the Class; and

               g.         The amount of damages and other relief to be awarded to Plaintiff
                          and the Class members.

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       66.     Plaintiff’s claims are typical of the claims of the members of the Class because

Plaintiff and the other Class members each contracted with Defendant for it to provide an in-person

and on-campus live education for the tuition they paid and the services and facilities for the

Mandatory Fees that they paid, that LESC stopped providing in mid-March.

       67.     Plaintiff is a more than adequate class representative. In particular:

               a)      Plaintiff is committed to the vigorous prosecution of this action on
                       behalf of himself and all others similarly situated and has retained
                       competent counsel experienced in the prosecution of class actions
                       and, in particular, class action litigation;

               b)      because his interests do not conflict with the interests of the other
                       Class members who he seeks to represent;

               c)      no difficulty is anticipated in the management of this litigation as a
                       class action; and

               d)      Plaintiff’s legal counsel has the financial and legal resources to
                       meet the substantial costs and legal issues associated with this type
                       of litigation.

       68.     Class members’ interests will be fairly and adequately protected by Plaintiff and

his counsel.

       69.     It is impracticable to bring the individual claims of every Class member before the

Court. Class treatment permits a large number of similarly situated persons or entities to prosecute

their common claims in a single forum simultaneously, efficiently, and without the unnecessary

duplication of evidence, effort, expense, or the possibility of inconsistent or contradictory

judgments that numerous individual actions would engender. The benefits of the class mechanism,

including providing injured persons or entities with a method for obtaining redress on claims that

might not be practicable to pursue individually, substantially outweigh any difficulties that may

arise in the management of this class action. A class action is superior to other available methods


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for the fair and efficient adjudication of this litigation. The damages or financial detriment suffered

by individual Class members are relatively small compared to the burden and expense of individual

litigation of their claims against LESC. It would, thus, be virtually impossible for the Class, on an

individual basis, to obtain effective redress for the wrongs committed against them. Furthermore,

individualized litigation would create the danger of inconsistent or contradictory judgments arising

from the same set of facts. Individualized litigation would also increase the delay and expense to

all parties and the court system from the issues raised by this action. By contrast, the class action

device provides the benefits of adjudication of these issues in a single proceeding, economies of

scale, and comprehensive supervision by a single court, and presents no unusual management

difficulties under the circumstances.

          70.   Plaintiff also seeks class certification for injunctive and declaratory relief under

FRCP 23(b)(2) and (b)(3), at the appropriate juncture.

                                 FIRST CLAIM FOR RELIEF
                                  BREACH OF CONTRACT
                              (On Behalf of Plaintiff and the Class)

          71.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          72.   Plaintiff brings this claim individually and on behalf of the members of the Class.

          73.   By accepting LESC tuition and the Mandatory Fees, LESC agreed to, among other

things, provide an in-person and on-campus live education as well as the highly specialized

services and facilities to which the Mandatory Fees that was paid pertained to throughout those

semesters. The terms of the parties’ contractual relationship are set forth in publications from

Defendant, including the Course Catalog.




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       74.     Plaintiff and Class members entered binding contracts with Defendant by accepting

Defendant’s offer to register for on-campus classes in accordance with the terms of the Catalogs,

Defendant’s publications, acceptance letters, admission materials, registration materials, payment

materials, and Defendant’s usual and customary practice of providing on-campus and in-person

services.

       75.     For example, the Course Catalog provided Plaintiff and Class Members with

information regarding the courses offered, including the type of training students would receive.

       76.     Prior to beginning the semester or terms affected by Covid-19, and prior to paying

tuition and fees, Plaintiff consulted that Course Catalog and enrolled in courses. In consulting the

Course Catalog, Plaintiff understood and believed that every course in which he enrolled was to

be taught in-person. Plaintiff’s understanding and belief was based on the course specifying an on-

campus location where the course would be taught, as well as that the courses were not listed as

hybrid or online on the Course Catalog. Thus, the in-person nature of the course was part of the

benefit of the bargain, and Plaintiff would not have paid as much, if any, tuition and fees for the

semesters or terms at LESC had he known that the course would not, in fact, be taught in-person.

       77.     Plaintiff Gaviria paid tuition and Mandatory Fees for in-person educational

services, experiences, opportunities, and other related collegiate services. Plaintiff Gaviria has not

been provided a pro-rated refund of the tuition for his in-person classes that were discontinued and

moved online, or the Mandatory Fees he paid after LESC’s facilities were closed and events were

cancelled.

       78.     Lincoln Tech has held that its in-person educational opportunities, experiences, and

services are of substantial value.




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        79.    Lincoln Tech agreed to provide in-person educational opportunities, experiences,

and services to enrolled students.

        80.    Lincoln Tech promoted its in-person educational services as an important part of

students’ educational experiences and their development.

        81.    In marketing materials and other documents provided to the Named Plaintiff,

Defendant promoted the value of the in-person education experiences, opportunities, and services

that Defendant provided.

        82.    In marketing materials and other documents provided to the Named Plaintiff,

Defendant promised to provide those in-person education experiences, opportunities, and services

in exchange for the payment of tuition and a Mandatory Fees.

        83.    Defendant provided Plaintiff with an acceptance letter that the Named Plaintiff

accepted based on the promise of in-person educational experiences, opportunities, and services

that Defendant would provide.

        84.    These promises of in-person and on-campus educational services were material to

Plaintiff.

        85.    LESC has breached its contract with Plaintiff and the Class by failing to provide

the promised in-person and on-campus live education as well as the services and facilities to which

the Mandatory Fees pertained throughout the semesters affected by Covid-19 and retaining monies

paid by Plaintiff and the Class for a live in-person education and access to these services and

facilities during these semesters.

        86.    Plaintiff did not enroll or register for online-only learning with no in-person access

or services.




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          87.    Plaintiff and the members of the Class have therefore been denied the benefit of

their bargain.

          88.    Plaintiff and members of the Class have performed all of the obligations on them

pursuant to their agreement – including by making such payments or securing student loans or

scholarships to pay for such education.

          89.    Plaintiff and the members of the Class have suffered damage as a direct and

proximate result of LESC’s breach in the amount of the prorated portion of the tuition and

Mandatory Fees they each paid during the portion of the semesters affected by Covid-19 in which

in-person classes were discontinued and facilities were closed by LESC.

          90.    Therefore, Defendant should return a pro-rata share of the tuition and fees paid by

Plaintiff and Class Members that related to those in-person educational services that were not

provided after Lincoln Tech shut down on or around March 16, 2020.

                                 SECOND CLAIM FOR RELIEF
                                    UNJUST ENRICHMENT
                               (On Behalf of Plaintiff and the Class)

          91.    Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          92.    In the alternative, Plaintiff brings this claim for unjust enrichment individually and

on behalf of the members of the Class.

          93.    By paying Lincoln Tech tuition and the Mandatory Fees LESC agreed to, among

other things, provide an in-person and on-campus live education as well as the services and

facilities to which the Mandatory Fees that was paid pertained to throughout the semester.

          94.    Defendant conveyed in writing in documents and in other materials to Plaintiff and

similarly situated individuals that it would provide in-person educational services, opportunities,



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and experiences designed to provide students with opportunities in highly technical career paths.

       95.     Defendant conveyed in writing in documents and in other materials that Plaintiff

and similarly situated individuals would have access to the services for which they paid the

Mandatory Fees.

       96.     Defendant has retained the benefits of the amount of tuition and Mandatory Fees

that Plaintiff and similarly situated individuals has provided – without providing the benefits that

Plaintiff is owed.

       97.     For example, Defendant failed to provide Plaintiff and Class Members full access

to on-campus facility after in or around March 16, 2020. Yet Defendant assessed Plaintiff with

tuition and the Mandatory Fees that covered the cost of upkeep and maintenance of such facilities,

services, costs, and expenses.

       98.     Plaintiff was not able to access such facilities or services remotely.

       99.     Plaintiff paid tuition and Mandatory Fees with the expressed understanding that

such costs included the in-person classes, services, opportunities, and experiences that Lincoln

Tech has previously marketed, promoted, or made available prior to Covid-19.

       100.    The costs incurred for having an online only program is significantly lower than

the overhead needed to provide classes and services on campus.

       101.    Defendant has been unjustly enriched by Plaintiff’s payment of tuition and the

Mandatory Fees.

       102.    Despite not being able to provide all services, Lincoln Tech failed to provide

reimbursements for tuition and the Mandatory Fees despite the materially different education and

other experiences that it provided, and the reduced benefits associated with the fee.




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          103.   Defendant was not required to retain Plaintiff’s prorated Tuition and Mandatory

Fees by any government order, regulation, or requirement then or current in effect.

          104.   Plaintiff and members of the Class have sustained monetary damages as a result of

each of Defendant’s breaches of the covenant of good faith and fair dealing.

          105.   Defendant’s act was unjust for them to keep money for services they did not render.

          106.   Defendant should be required to disgorge all profits resulting from such

overpayments and establish a constructive trust from which Plaintiff and Class Members may seek

restitution.

                                   THIRD CAUSE OF ACTION
                                         CONVERSION
                                (On Behalf of Plaintiff and the Class)

          107.   Plaintiff repeats and re-alleges the factual allegations above, as if fully alleged

herein.

          108.   Plaintiff brings this claim individually and on behalf of the members of the Class.

          109.   Plaintiff and members of the Class provided LESC with property in the form of

funds (tuition and the Mandatory Fees), in exchange for in person on campus services, facilities

and face to face instruction.

          110.   LESC exercises control over Plaintiff’s and Class members’ property.

          111.   LESC intentionally interfered with Plaintiff’s and the Class members’ property

when it unilaterally moved all in-person classes to a remote online format, cancelled all on-campus

events, strongly encouraged students to stay away from campus, and discontinued services for

which the Mandatory Fees was intended to pay, all while retaining the tuition and Mandatory Fees

paid by Plaintiff and the Class.




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        112.    Class members demanded the return of their property proportionate to the reduction

in benefit for education and services during the semester or terms when in-person and on-campus

live education, and access to LESCLESC’s services and facilities were unavailable.

        113.    LESC’s retention of the tuition and Mandatory Fees paid by Plaintiff and the Class

without providing the services for which they paid, deprived Plaintiff and Class of the benefits for

which the tuition and Mandatory Fees was paid, and of their funds paid for those benefits.

        114.    LESC converted Plaintiff’s property (tuition and fees) into revenue for LESC

without providing the services Plaintiff paid for.

        115.    Thus, Defendant converted and took that property 6 from Plaintiff.

        116.    Plaintiff and the Class members are entitled to the return of the pro-rated amounts

of tuition and the Mandatory Fees each paid equal to the reduction in benefit for education and

services during the semesters or terms when in-person and on-campus live education, and access

to LESC’s services and facilities were unavailable.

                                       PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that judgment be entered in favor of Plaintiff

and the Class against Defendant as follows:



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  Indeed, colleges and universities must be able to separately account for student payments, as well as
financial aid received on an individual student’s behalf, as these institutions are frequently required to
issue refunds to the government and the student for instances where the student enrolls, but does not
complete classes for which the institution has received financial aid payments from the federal
government. The Higher Education Act (“HEA”), Title IV, governs federally funded student financial aid
programs for college and post-secondary vocational training. See 20 U.S.C. §§ 1070–1099 (1990 & 1992
Supp.). The HEA requires that when a student withdraws partway through the enrollment period, the
institution must refund a certain portion of the charges to account for its reduced educational obligations
toward the student. Career Coll. Ass'n v. Riley, 74 F.3d 1265, 1269 (D.C. Cir. 1996). Thus, it is beyond
dispute that any college or university receiving any tuition payments through government-provided
financial aid must be able to account for what was paid for each individual student. This means that each
student’s tuition funds must be capable of being separately identified and sequestered, and a claim for
conversion of those funds can be properly sustained. Moreover, discovery will flesh out more
information about the particular accounting practices employed by Defendant.

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